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Deutsche Bank
Markets Research

North America                   Periodical
United States
                                DB Today - US
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Today’s Morning Meeting Agenda:                                                    (+1) 212 250-4727
Ameriprise Financial - Initiating with a Buy                                       Table Of Contents
                                                                                   john.mcnamara@db.com
Oil & Gas Exploration & Production - DJ Basin - Spinning Bits. Making Hits.        Today’s Highlights                                           Page 01
Airlines - Positioning for 2015 - When will stocks discount record forecasts?      Additional Research
                                                                                   Table Of Contents
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Hexcel Corporation - Investor Day Wrap-up; '14/'15 as expected but cash            Global Research                                              Page 04
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upside through '19
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Additional Companies Mentioned:                                                    DB Daily Heading                                            Page 08
CHEF, BGFV, Hardline Retail , ALLY, BAX, PCYC, AA, DB Paper & Packaging,           Section                                                    Page 00
                                                                                   Detailed Reports                                             Page 09
CNV, PC industry                                                                   Section Heading                                            Page 00
                                                                                   GLOBAL MARKET WRAP
                                                                                   Source: Deutsche Bank

Initiations: AMP (Buy), BCEI, PDCE (Hold)                                          INDEX                                  Close          1D        YTD

Rating Change: ALK (Sell to Hold)                                                                                                   % Chg        % Chg
                                                                                   S&P 500                           2028.26          -0.8         -1.5
                                                                                   NASDAQ                            4664.71          -0.8          -1.5
TODAY’S HIGHLIGHTS                                                                 DOW                              17640.84          -0.5          -1.0
                                                                                   FTSE 100 INDEX                    6525.63              0.4       -0.6
Ameriprise Financial (AMP.N), Buy Price Target USD143
                                                                                   HANG SENG INDEX                  24215.97              0.8       2.6
Yaron Kinar: Initiate with Buy, tgt USD143. Our Buy recommendation is
                                                                                   NIKKEI 225                       17087.71          -0.6          -2.1
predicated on further re-rating and earnings growth from continued
                                                                                   BRAZIL BOVESPA                   48139.74          -1.4          -3.7
productivity and utilization improvements in wealth advisory, which is currently
                                                                                   RTS-2 INDEX                        581.29          -3.1         -12.2
in-line with peer average. This improvement should continue to support strong
capital deployment, with over 100% of earnings deployed through buybacks           SECTOR WRAP
and dividends. Finally, benchmarked to life insurers, AMP is better positioned     Best Sectors
to weather a weak 10Y environment and is uniquely positioned to benefit from       Computer & Electronics                                          3.2%
a Fed rate hike later this year. We initiate with above-Consensus EPS estimates    Gold                                                            2.3%
of $9.65 and $11.35 for '15-'16. Last Close USD126.38. Details on page 09          Healthcare REIT’s                                               1.4%
                                                                                   Worst Sectors
                                                                                   Distributors                                                    -3.8%
Oil & Gas Exploration & Production - DJ Basin
                                                                                   Speciality Stores                                               -4.1%
Josh Silverstein: Initiations: Bonanza Creek Energy. – Hold, tgt USD30, PDC
                                                                                   Healthcare Facilities                                           -6.9%
Energy – Hold, tgt USD52. . While a “Big 3” (Permian, Eagle Ford, Bakken) can
                                                                                   COMMODITIES                     Close              1D            YTD
get you to the NBA Finals, you can’t win the title without a strong supporting
                                                                                                                                   % Chg          % Chg
cast and for US oil supply, the DJ Basin is playing the role of the up and
                                                                                   West Texas                       46.07            -4.7           -13.5
coming star. While we see basin challenges (infrastructure), in our view, the DJ
                                                                                   Brent                            45.46            -2.2           -18.5
is relatively advantaged on the cost curve. We see producers in the basin          CRB                             220.83            -2.1            -4.0
supported by strong hedge positions, competitive and improving well                Copper                          269.10            -1.3            -4.8
economics, and upcoming catalysts to increase the resource base, a key             Gold (Spot)                    1240.60             0.6             4.7
differentiator in a lower commodity environment. Additionally, with a              Alum. (LME)                    1810.00             0.0            -2.3
fragmented but resource rich basin, we see industry consolidation as a             Baltic Dry                      723.00             2.0            -7.5
potential outcome. Details on page 10                                              FOREX (vs US$)                 Close             1D             YTD
                                                                                                                                  % Chg          % Chg
                                                                                   HK$                              7.75            0.0             0.0
Cont’d on next Page……
                                                                                   EUR                              1.18            -0.1            -2.3
                                                                                   JPY                        118.28                0.1             1.3
                                                                                   GBP                              1.51            -0.3            -2.9
                                                                                   Source: Bloomberg Finance LP




________________________________________________________________________________________________________________
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CERTIFICATIONS ARE LOCATED IN APPENDIX 1. MCI (P) 148/04/2014.
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TODAY’S HIGHLIGHTS
Airlines - Positioning for 2015
Michael Linenberg: Recommendation & Target price Change: Alaska Air Group, Inc. - Sell to Hold, tgt USD53 to USD65.
We are projecting a 47% increase in industry pretax profit to $20.7 billion for 2015. While our forecast calls for a
modest 2% increase in top-line, roughly 80% of the earnings gain is driven by lower fuel prices. As fuel prices
plummeted and earnings forecasts were revised higher, airline multiples have contracted as investors are less willing to
pay for cost-reduction earnings growth. How to engage investors? Airline management need to reiterate their financial
objectives: capacity/CAPEX discipline and margin/ROIC-focus while expressing a willingness to share "windfall" profits
with stakeholders. Details on page 11

Hexcel Corporation (HXL.N), Buy, Price Target USD48.00
Myles Walton: Management swung open the gates at their Salt Lake City composite facility in an effort to bring
investors into the fold on how the investments the company has been making in capex are coming along. The tour was
impressive in both what has been done and what the company still plans to accomplish (company will double both its
fiber and prepreg capacity by 2020). The company's operating leverage target was also nicely raised from 23% to 25%
over the next 5 years, which helps the company drive a mid-teens EPS CAGR on organic growth and cash generation
without making a dent on the balance sheet. Maintain Buy given upside to PT. Last Close: USD40.38. Details on page
12

ADDITIONAL RESEARCH

ECONOMICS
US Daily Economic Notes   Commentary for today: The November Job Openings and Labor Turnover Survey (JOLTS) is
                          released this morning. The data are closely followed by Chair Yellen and are based off of the same
                          sample used to derive nonfarm payrolls. Since the labor market has continued to improve and
                          November payrolls rose a whopping 353k, further improvement in the various JOLTS series is
                          likely. There are three main series within JOLTS, which dates back to December 2000. They are the
                          rate of job openings, job hirings and separations. Additionally, within the separations component,
                          there are three individual subcategories. They are layoffs, quits and “other” separations. In
                          essence, there are five JOLTS series we need to track, because the “other” separations series is
                          non-cyclical.

CONSUMER
Chefs' Warehouse          Tgt USD17 to USD21. CHEF Significantly Expands West Coast Protein Business. CHEF announced
(CHEF.OQ),USD21.4 Hold
Price Target USD21
                          that it has reached an agreement to acquire Del Monte Meat Co. for ~$191.2M, or about 0.90x
                          sales, which is at the higher-end of the range of recent deals (0.4x-1.1x; avg is 0.6x). No
                          EV/EBITDA multiple was disclosed, but mgmt noted that they paid a premium to the normal 6-8x
                          range. CHEF will fund the acquisition with 1) $127.5M of cash; 2) 1.2M CHEF shares (at $22/shr);
                          and 3) $38.3M in convertible subordinated notes. Also, CHEF will pay additional contingent
                          consideration, which is expected to total ~$25.5M, subject to certain conditions and upon
                          achievement of EBITDA targets over the six years following the closing of the transaction. The Del
                          Monte acquisition is consistent with CHEF’s strategy to build out its center-of-the-plate (COP)
                          capabilities, which helps drive much greater penetration. Note that in OH/NY, customers who buy
                          COP spend 3x as much on specialty items as other customers. Thus, the Del Monte offering should
                          provide CHEF with a solid platform for growth, particularly in the attractive San Fran market.
Big 5 Sporting Goods      BGFV pre-announces 4Q14 EPS of $0.14 - $0.16. Today after market close BGFV pre-announced
(BGFV.OQ),USD12.97
Hold Price Target USD10
                          4Q14 earnings to the lower end of its previously guided range. The company now expects 4Q14
                          EPS of $0.14 - $0.16, including $0.01 of non-cash restructuring charges vs its previously guided
                          range of $0.14 - $0.22. The main catalyst is lower than expected same-store sales, which finished
                          the quarter down 0.5% vs guidance of positive low single digit same store sales. Following positive
                          low single digit comps in October and November, comps moved into the negative low single digit
                          range for December. We are now looking for operating margins down 100 bps y/y in 4Q14, equally
                          split between GM declines on both lower y/y merch margins and de-leverage of occupancy. We
                          believe negative comps drove labor de-leverage in the SG&A line as well.


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CONSUMER
Hardline Retail           Overall thoughts. We attended CES and came away pleased with the focus manufacturers showed
                          at making technology work more personally for the consumer. This was most noticeable in the
                          wearables category. From its infancy of step counters and heart rate monitors, the wearables
                          category is evolving to more discrete and specific uses and into more and more consumer
                          products. TVs continue their move upscale, with even newer, “better” models of UHD available –
                          but the biggest takeaway in our view is the UHD Alliance that was announced at CES. Internet of
                          Things (IoT) remains in its early stages, with wearables as potentially the key to unlocking this
                          technology.

FINANCIALS
Ally Financial            Losing GM subsidized lease volumes is a negative, but many offsets over time. GM Financial (GM's
(ALLY.N),USD22.57 Buy
Price Target USD26
                          captive) will reportedly become the exclusive provider of subsidized leases for Buick and GMC (and
                          eventually Cadillac) starting in 1Q15. While we had expected more prime competition from GM
                          Financial in 2015 (incl. expanding lease), this new program seems a bit surprising given it reduces
                          incentivized lease options for both dealers/consumers at a time when auto sales are slowing. The
                          bottom line: we estimate a $0.06 net EPS drag in 2015 (assuming the loss of Buick, GMC, and
                          Cadillac lease subvention starts in 1Q15), and $0.09 net EPS drag in 2016 (assuming the loss of
                          Chevrolet in 2H15). However, ROE expansion still on track and valuation is attractive. BUY.

HEALTHCARE
Baxter International      Save the date for May investor meetings; 2015 has a number of headwinds On Monday post-
(BAX.N),USD72.72 Hold
Price Target USD66
                          market close, Baxter management provided several updates at an investor presentation.
                              x Reaffirmed the mid-year spin-off of its biopharma business, Baxalta.
                              x BAX will host investor meetings on May 18 (PM) and 19 (AM) to review the prospects for
                                   Baxter and Baxalta (the biopharma spin-off), respectively.
                              x BAX reports 4Q14 results on Jan 29. Mgmt highlighted a number of headwinds in 2015
                                   including generic cyclo, FX, pension expense, and some additional costs to support
                                   medical products due to regulatory challenges (a 1H15 impact). It noted 1Q was going to
                                   be a challenge in particular and it plans to give EPS guidance for 1Q along with 4Q results.
Pharmacyclics             FY14 prelim Imbruvica US sales at $492M vs. $462M consensus; we modeled sales at $474M.
(PCYC.OQ),USD123.71
Buy Price Target USD180
                          Upside potential despite flattening IMS wkly scripts We see upside as recently IMS scripts have
                          been flat (From 12/5 through the end of the year average wkly NRX was 386; average wkly TRX
                          was 1167). We note the co sees 4Q sales at $185M (vs. $167M consensus). IMS suggests 4Q sales
                          of $171-174 and FY at $469-470M (using 4Q/3Q script growth).

INDUSTRIALS
Alcoa (AA.N),USD16.17     Alcoa’s adjusted diluted EPS of $0.33 was 1c above DBe of $0.32 and 6c above Thomson One
Buy Price Target USD20
                          consensus of $0.27 due to better-than-expected Alumina segment performance. Headline net
                          income of $159m (11c/sh) was impacted by $200m (17c/sh) in restructuring charges, tax items
                          ($53m, 4c/sh) and acquisition related charges of $22m (2c/sh). Re-it Buy.
DB Paper & Packaging      Alcoa read-thru to bevcans – no significant change to outlook for pkg demand. Alcoa, one of the
                          largest global aluminum producers, reported its Q4 earnings results after market close today. The
                          company’s outlook for global aluminum packaging demand growth for 2015 remained the same at
                          +2 to 3% y/y. The outlook for each region remained the same vs. Alcoa’s 3Q presentation. On a
                          regional basis, management sees NA declining 1 to 2% y/y, while Europe and China are expected
                          to grow 2 to 3% and 8 to 12% y/y, respectively. An estimated 80 to 90% of Alcoa’s packaging
                          segment is represented by bevcans.

TECHNOLOGY/MEDIA/TELECOM
Cnova                     The Key Take-Away. Cnova provided a preliminary update on 4Q14 with GMV and net revenue
(CNV.OQ),USD8.30 Hold
Price Target USD8.50
                          metrics today, posting 29% GMV growth (EUR 1,472m) and 20% revenue growth (EUR 1,099m).
                          4Q results were mostly in-line with DB estimates in France, and Brazil GMV was 7% better. Given
                          that 4Q14 is the first quarter for Cnova as a public company since its IPO in mid-November, the
                          results are largely in-line as expected and encouraging. The company will provide key profit KPI’s
                          (GP, EBITDA and EPS) when it reports full financials in Feb.

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TECHNOLOGY/MEDIA/TELECOM
PC industry          What happened?. This afternoon, IDC released its preliminary PC data estimating that PC
                     shipments totaled 80.8M units in C4Q-14, a decline of 2.4% Y/Y. Results were better than IDC's
                     expectation of down 4.8%. Once again, developed markets including the US and parts of Europe,
                     remained stronger than other markets but growth slowed on a Y/Y basis while emerging market
                     saw a slight increase in volume. IDC highlighted that while commercial demand for PC’s has
                     slowed, consumer demand is improving driven by products like Chromebooks, all-in-ones,
                     Windows 8 with Bing, ultraslim, convertibles and touch screens. However, IDC remains cautious
                     on the strength of demand in 2015 as recent gains have been relatively small and XP support
                     transitions are expected to wane.



Detailed US Research: for further details, please view full research reports which can be found on our DB Research
website. http://gm.db.com/equities




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GLOBAL RESEARCH
UBS and Credit Suisse   Matt Spick: Q4 will be slow, will downgrades be the big theme for 2015?. We have a long
                        shopping list of concerns for European banks heading into 2015: NIM disappointment, sluggish
                        economic growth, the effectiveness (or not) of QE, and additional costs from the DGS / SRF. Swiss
                        banks look better placed, given the strengthening in the USD versus the CHF and volume growth
                        in Wealth Management via inflows. UBS is our top pick (rated BUY, target price CHF 21) and we
                        expect the bank to return to meaningful dividend distribution with its FY results.




UK Mortgage Market      Jason Napier: Bad news sells but underlying data remains supportive. Festive period newspapers
Outlook 2015
                        were full of headlines highlighting recent slowing in annual house price momentum and mortgage
                        approval volumes. We provide a run-through of current property market indicators to consider
                        whether our fairly constructive mortgage market stance remains justified. We come away
                        convinced that a near term slowdown in volumes is likely but that the UK mortgage market will
                        deliver 2-4% annual volume growth over the coming five years, including in 2015. We also found
                        surprisingly strong de-risking of household finances and growing potential for meaningful upside
                        to consumer spending power from mortgage refi. Barclays and LBG are our top picks
Adidas AG               Adrian Rott: Tgt E57 to E51.Less contrarian than before but risk from RU still underappreciated; TP
(ADSGn.DE),EUR56.59
Sell Price Target
                        to E51. We haven't been counting on a Russia comeback for Adidas in 2015, but the Ruble
EUR51.00                tumbling lower since Dec brings another 8-10% cut to our numbers. We present a DBe Russia P&L
                        (not disclosed by co.) and explain why we do not expect a positive FY15 profit contribution from
                        Russia anymore. All-in we're again >5% below consensus; TP moves to E51. Upward catalysts are
                        binary in nature (activism is one) while fundamentals remain challenged well into 2015 in our view.
                        Being cautious on the name is less contrarian than it used to be in Q3s in Nov, but with significant
                        risks from Russia looming (scenario analysis within) and no other area of positive surprise, we stick
                        to Sell
Allianz                 Hadley Cohen: Always room for improvement - reiterate Buy, SOTP-derived TP EUR160. Allianz is
(ALVG.DE),EUR136.60
Buy Price Target
                        widely regarded as one of the highest quality global insurance franchises, and rightly so in our
EUR160.00               view. However, there is always room for improvement, particularly in free capital generation,
                        which we estimate stands at <70% of IFRS earnings for '15e-16e versus Euro large cap peers on
                        80%+. The life division is the biggest culprit for this lower level, and improving this could be a
                        focus for incoming CEO, Oliver Baete. We therefore look at where the opportunities lie by
                        considering both new business strain and in-force generation, relative to peers, by geography
Tencent                 Alan Hellawell III: Tgt HKD155.50 to HKD156.00. Peeking into the mobile ad playbooks of others.
(0700.HK),HKD127.10
Buy Price Target
                        Reiterate Buy. We are very encouraged by recent discussions with brand owners and agencies
HKD156.00               around the progress of Tencent's mobile ad initiatives on Weixin. We believe a number of luxury
                        brands have been invited to test new formats on the Moments tab through Chinese New Year. As
                        the opportunity becomes more real, we look at the precedent of other mobile platforms in our
                        attempt to model the Weixin Moments opp. We expect the market to re-evaluate Tencent's long-
                        term Weixin/mobile QQ monetization prospects beyond games
Property - The Realty   Joy Wang: Initiation - Keppel DC REIT , tgt SGD1.02.. The trust is in its initial growth phase and
Singapore
                        should comfortably deliver a total return of 11%, one of the highest in our coverage universe. The
                        long-awaited launch of Marine Blue has finally taken place; 31 units were sold during its preview
                        over the weekend. We believe the S$1,800psf to S$2,000psf pricing is quite aggressive under the
                        current environment and might result in a slower selling pace. In the news, GLP leases additional
                        space, SPH kicks off the results season and MCT signs a new loan facility.
Fixed Income Macro      Jim Reid: The trend lower in crude is indeed continuing as yesterday saw fresh cycle lows again
Strategy
                        with Brent now following WTI below $50 for the first time since April 2009. Indeed both WTI (-
                        4.74%) and Brent (-5.35%) closed the day at $46.07/bbl and $47.43/bbl – hitting fresh five and a
                        half year lows (and have declined some 1.5%-2% further this morning). Downgraded 2015 broker
                        forecasts appear to be the reason for yesterday’s move with the result an all-too-similar sharp sell
                        off for energy stocks. Yesterdays -0.81% close for the S&P 500 was not helped by a 2.80% decline
                        in the energy sector. Credit markets also weakened with IG23 1.7bps wider on the day. US HY
                        energy stocks fared little better with spreads closing 20bps wider whilst at the US’s second largest
                        oil producer, the latest count of the North Dakota oil rigs showed the number of operating rigs
                        falling to the lowest level since November 2010.




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DAILY REVISIONS
Ticker                  Company                                     Analyst Name             Sector               Change           New       Previous    % Chg
CONSUMER
CHEF.OQ                 Chefs' Warehouse (Hold, $21.40)              Karen Short        Food & Staples          Target Price   ▲     21            17       23.5
                                                                                           Retailing
                                                                                                               EPS 2014 Q4     ▼    0.22         0.24       -4.7
                                                                                                               EPS 2014 FY     ▼    0.61         0.62       -1.8
                                                                                                               EPS 2015 FY     ▼    0.75         0.76       -2.3


BGFV.OQ                     Big 5 Sporting Goods (Hold, $12.97)    Michael Baker,       Specialty Retail       EPS 2014 Q4     ▼    0.16         0.21      -23.8
                                                                       CFA
                                                                                                               EPS 2014 FY     ▼    0.73         0.78       -6.5


FINANCIALS
AMP.N                   Ameriprise Financial (Buy, $126.38)          Yaron Kinar           Insurance             Initiation    ▲    Buy            NR            -
                                                                                                                Target Price   ▲    143             0            -


ALLY.N                  Ally Financial (Buy, $22.57)                  David Ho         Consumer Finance        EPS 2014 Q4     ▼    0.39          0.4       -1.1
                                                                                                               EPS 2015 FY     ▼    2.16         2.22       -2.6


INDUSTRIALS
BCEI.N                  Bonanza Creek Energy                       Josh Silverstein   Oil & Gas Exploration      Initiation    ▲    Hold           NR            -
                                                                                          & Production
                                                                                                                Target Price   ▲     30             0            -


PDCE.OQ                 PDC Energy                                 Josh Silverstein   Oil & Gas Exploration      Initiation    ▲    Hold           NR            -
                                                                                          & Production
                                                                                                                Target Price   ▲     52             0            -
ALK.N                   Alaska Air Group, Inc. (Hold, $60.61)     Michael Linenberg         Airlines          Recommendation ▲      Hold          Sell           -
                                                                                                                Target Price   ▲     65            53       22.6
                                                                                                               EPS 2014 Q4     ▲    0.92         0.82       12.7
                                                                                                               EPS 2014 FY     ▲    4.15         4.05        2.5
                                                                                                               EPS 2015 FY     ▲         5        4.7        6.3


AA.N                    Alcoa (Buy, $16.17)                        Jorge Beristain      Metals & Mining        EPS 2015 Q1     ▼    0.31         0.33       -5.2
                                                                                                               EPS 2015 FY     ▲    1.44         1.37        4.9
                                                                                                               EPS 2016 FY     ▲    1.57         1.48        6.5


ALGT.OQ                 Allegiant Travel Co. (Buy, $154.36)       Michael Linenberg         Airlines           EPS 2014 FY     ▲    6.22         6.15            1


SKYW.OQ                 SkyWest, Inc. (Hold, $12.40)              Michael Linenberg         Airlines           EPS 2015 FY     ▲     0.8         0.75        6.2


LUV.N                   Southwest Airlines Co. (Buy, $40.25)      Michael Linenberg         Airlines           EPS 2014 FY     ▲    1.92          1.9        0.7


Source: Deutsche Bank




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US MACRO FORECASTS
                                                                                                  2014                                                           2015
                                                          Q1                        Q2                          Q3F                      Q4F              Q1F                 Q2F
Real GDP (% q/q)                                         -2.1                       4.6                         3.9                      3.2              3.1                 3.3
Core CPI (%y/y)                                           1.6                       1.9                         1.8                      2.3              1.8                 1.9
Unemployment rate                                        6.7                       6.2                          6.1                      4.7             5.6                  5.4
Fed Funds                                                0.09                      0.09                         0.09                     1.0             0.13                 0.50
S&P 500 EPS Forecasts & Targets
                                                                                        S&P 500 Forecasts                                             P/E Multiple        S&P Target
2014E                                                                                     $117.50                                                        17.7x             2000-2050
2015E                                                                                       $123                                                         16.9x                2150
2016E                                                                                       $132                                                         15.7x                2300
Joseph A. LaVorgna                            Chief US Economist                     (+1) 212 250-7329
David Bianco                                  US Equity Strategist                   (+1) 212 250-8169
Source: Deutsche Bank * *Compiled by DB US Economics team; may differ from official 10Yr yield forecasts from DB Fixed Income Strategy



TODAY’S MARKET DATA ITEMS
Time (ET)                      Item                                                                                                        Forecast                         Consensus
9:00 am                        NFIB small bus optimism (Dec):                                                                                  99.0                                  98.5
10:00 am                       November JOLTS data are released
Source: Deutsche Bank, Bloomberg Finance LP



TODAY’S COMPANY MEETINGS AND INVESTOR FIELD TRIP
Company Meetings
Pershing Square Holding                                                   London
REGULUS THERAPEUTICS INC                                                  San Francisco
RETROPHIN INC                                                             San Francisco
Investor Field Trips
Silicon Valley Bus Tour                                                   San Francisco


TODAY’S CONFERENCE CALL
Date                                         Time                                  Event                                                                                         Dial - in
Tuesday January 13, 2015                     11:00am ET                            Banks 4Q14 Preview                                                            US: + 1 877-660-0990
                                                                                   Hosted by Matt O’Connor                                                          Conf Id: 61314872



UPCOMING CONFERENCE CALL
Date                                         Time                                  Event                                                                                         Dial - in
Wednesday January 14,                        10AM ET                               US Presidential Election Preview – Who are                                        US: (800) 309-8606
2015                                                                               the candidates and what are the key topics?
                                                                                                                                                                     UK: 08000 288 438
                                                                                   Hosted by:
                                                                                                                                                                     Intl: (706) 679-0645
                                                                                   Frank Kelly, Global Coordinator, Public                                             Conf ID: 65736075
                                                                                   Affairs & Head of Government & Public
                                                                                   Affairs – North America & Latin America
                                                                                   Torsten Slok,
                                                                                   Chief International Economist




CORPORATE ACCESS

UPCOMING CONFERENCES/TRIPS
Date                                                     Conferences
January 14, 2015                                         2015 Global Auto Industry Conference @ Detroit
January 14-16, 2015                                      dbAccess China Conference 2015 @ Beijing
January 15, 2015                                         dbAccess Small and Mid Cap Best Ideas Day@ London
January 15-16, 2015                                      dbAccess Taiwan Conference 2015 @ Taipei
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DB DAILY - DB covered stocks only (12th January 2015)




Source: Deutsche Bank, Bloomberg Finance LP




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  Ameriprise Financial                                                                   Buy
                                                                                         Reuters: AMP.N   Exchange: NYS   Ticker: AMP

Initiating with a Buy

Price (USD)                          126.38   Initiating with Buy and $143 target price
Price target                         143.00   Our Buy recommendation is predicated on further re-rating and earnings growth
52-week range              136.76 - 101.47    from continued productivity and utilization improvements in wealth advisory, which
Market Cap (USDm)                24,223.3     is currently in-line with peer average. This improvement should continue to support
Shares outstanding (m)                191.7   strong capital deployment, with over 100% of earnings deployed through buybacks
Free float (%)                         100    and dividends. Finally, benchmarked to life insurers, AMP is better positioned to
Volume (12 Jan 2015)                221,599   weather a weak 10Y environment and is uniquely positioned to benefit from a Fed
S&P 500 INDEX                    2,028.26
                                              rate hike later this year. We initiate with above-Consensus EPS estimates of $9.65
                                              and $11.35 for '15-'16.
FYE 12/31        2013A      2014E    2015E
1Q EPS             1.46     2.04A      2.30   Improvement in Advice & Wealth Management (AWM) segment
2Q EPS              1.59    2.08A      2.34   We expect a move up-market as well as hires of experienced financial advisors and
3Q EPS              1.91    2.10A      2.46   attrition of poor performing advisors to continue to support productivity gains and
4Q EPS              1.87     2.18      2.55   earnings growth, boosting AWM’s OPM by 300 bps, to 19% by ‘16. AWM’s earnings
FY EPS (USD)        6.82     8.40      9.65   should account for 37% of consolidated by ‘16, up from 31% currently. The
P/E (x)             12.4     15.0      13.1   improvement will lead to AWM’s re-rating, and its re-rating will have a greater
                                              impact on overall results as the proportion of its earnings increases. We expect the
                                              Asset Management (AM) segment’s improvement and re-rating to moderate, but
                                              believe group valuations offer support.
                                              Expect strong capital deployment to continue
                                              Capital deployed since 2010 amounts to 115% of operating earnings, supported by
                                              AM and AWM earnings mix shifting from 10% in’09 to 60% in ’14. We expect
                                              business mix to continue to shift to these non-capital intensive businesses – mostly
                                              AWM, where FCF conversion amounts to nearly 100% of earnings. Furthermore,
                                              AMP sits on $2.5 bil of excess capital, a portion of which will be deployed through
                                              buybacks, so we expect capital deployment to remain above 100% of earnings and
                                              boosting EPS by 3% this year.
                                              The interest rate play in a poorly-positioned group
                                              Life insurers should suffer from spread compression this year, with 10Y yields
                                              remaining below 2.5%. While AMP can’t escape this pressure, less than 40% of its
                                              earnings come from insurance, limiting its exposure to less than 2% of earnings per
                                              100bps move in rates. Furthermore, $20 bil of brokerage cash assets in AWM
                                              currently yielding <20 bps will benefit from a rate hike. We assume a 25bps rate hike
                                              per quarter starting in 3Q15 and through YE16, which has a 1% and 5% positive
                                              impact on ’15 &’16 results.
                                              Valuation and risks
                                              We use a sum-of-the-parts valuation, using a blend of forward P/E valuations relative
                                              to the market and, for the insurance operations, forward P/B as well. Risks: (1)
                                              stalling of AWM productivity gains and (2) interest rate compression.

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Oil & Gas Exploration & Production - Spinning Bits. Making Hits.
DJ Basin




Initiating Coverage Of BCEI and PDCE at Hold
While a “Big 3” (Permian, Eagle Ford, Bakken) can get you to the NBA Finals, you can’t win the title without a strong
supporting cast and for US oil supply, the DJ Basin is playing the role of the up and coming star. While we see basin
challenges (infrastructure), in our view, the DJ is relatively advantaged on the cost curve. We see producers in the
basin supported by strong hedge positions, competitive and improving well economics, and upcoming catalysts to
increase the resource base, a key differentiator in a lower commodity environment. Additionally, with a fragmented
but resource rich basin, we see industry consolidation as a potential outcome.
The Basin Track List For Success
While not of the size or scale of the Permian, the DJ Basin has a similar set up. Key similarities are the legacy nature
of the basin, stacked pay, and existing infrastructure that in our view make the basin equally as attractive as the Big
3. Key to the growth to date has been the move towards horizontal drilling and the extension of the play into the
Northeast oil window, transitioning the basin from ~30% oil in 2009 to ~60% in 2015. With the horizontal rig count
now at 54 (up from 15 in 2011), we see volume growth continuing (albeit at a slower pace) despite lower prices due
to supportive economics and declining costs.
Not A One Hit Wonder
The emergence of the Northeast extension and stacked horizontal pay (3-5 formations) has significantly increased the
resource potential of the DJ Basin over past two years; however we continue to see upside from the move to long
laterals, tighter spacing, and improved completions, which have become standard in the more mature oil basins.
With early tests proving successful and several upcoming catalysts that should provide upside support to well
economics and resource, we see this as a key differentiator for the DJ Basin and provide cushion for basin producers
to survive at $50/bbl oil. However, despite the relatively positive outlook for the basin and the stocks well below 52-
week highs, we are HOLD weighted the equities on balanced risk/reward and individual concerns. PDCE is in the best
position regarding balance sheet and hedge profile, although the limited inventory in the high return Inner
Wattenberg (90 3P locations) remains a concern. At BCEI, we see the decline rate catching up in 2H15 at lower
spend levels, which is necessary to support the balance sheet (>2x leverage), and BBG needs to execute a long-
lateral program. See full details of what to look for within.
Key Challenges – Infrastructure & Regulatory
As with other basins entering the development phase of the life cycle, volume growth has to be met by infrastructure
capacity additions. For the DJ Basin, the stresses are most apparent on gas production with line pressure still
elevated from new horizontal wells impacting legacy vertical volumes. While we anticipate line pressure to limit
growth, relief is on the way with ~750MMcfpd of new processing and compression additions through 2016.
Additionally, this past year saw political challenges to the industry with ballot initiatives that could have disrupted
development by putting more control in local government hands and reduce inventory with further restrictions.
Although the initiatives were eventually dropped, we see the potential for these issues to arise at some point in the
future.
Valuation and Risks
We value our small and mid cap E&P’s at 1x NAV assuming LT prices of $90/bbl oil and $5/mmbtu natural gas. Key
risks include growing infrastructure constraints, particularly natural gas, and regulatory issues that could slow
development and/or reduce inventory.

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Airlines - Positioning When will stocks discount record forecasts?
for 2015




2015 industry pretax up 47% driven by lower fuel; what will engage investors?
We are projecting a 47% increase in industry pretax profit to $20.7 billion for 2015. While our forecast calls for a
modest 2% increase in top-line, roughly 80% of the earnings gain is driven by lower fuel prices. As fuel prices
plummeted and earnings forecasts were revised higher, airline multiples have contracted as investors are less willing
to pay for cost-reduction earnings growth. How to engage investors? Airline management need to reiterate their
financial objectives: capacity/CAPEX discipline and margin/ROIC-focus while expressing a willingness to share
"windfall" profits with stakeholders.
Closing out 2014 with a record December quarter
We see US airlines heading into 2015 with very strong earnings momentum following an anticipated record 2014
December quarter. We are projecting a December quarter industry (which we define as the six A4A air carriers)
operating profit of $4.2 billion (up 62%) and a pretax profit of $3.4 billion (up 80%). Industry operating and pretax
margins are estimated to expand 4.2 points and 4.0 points, respectively, to 11.5% and 9.3%. While bottom-line
results are very strong, lower fuel expense is estimated to account for 85% of the improvement.
Anticipating strong earnings results for 2015 and 2016
The 47% y-o-y increase in our 2015 pretax profit forecast of $20.7 billion is primarily a function of lower fuel prices
and interest expense and modest non-fuel cost increases (and a PRASM forecast of -1%). The underlying margin
expansion is significant: 3.4 points to 14.5% for operating margin and 4.0 points to 13.3% for pretax margin. We are
also introducing our 2016 industry forecast which calls for a more modest 7% gain in pretax profit to $22.1 billion.
Major airline stocks have de-rated; we like airlines most exposed to domestic
As a group, major airlines have de-rated approximately two multiple points from a year ago and are now trading at
10.7x our fully-taxed 2015 EPS and 10.0x our fully-taxed 2016 EPS estimates. We think investors are most concerned
about exposure to int’l markets which account for about 35% - 40% of the Big 3’s sales. In that regard, we are
estimating a 5% decline in int’l PRASM for 2015 compared to a 2% gain in domestic PRASM. As such, we favor
names most exposed to domestic markets. Our favorite domestic large cap stock is Southwest (LUV); our favorite
domestic small cap is JetBlue (JBLU). However, we also continue to like major airline stocks given their attractive
valuations and their material operating leverage to lower fuel prices (we are using a base jet fuel price of $2.20/gallon
for 2015; spot prices are currently trading ~$1.50). Our order of preference is UAL, DAL and AAL.
We are upgrading Alaska (ALK) shares from Sell to Hold
Following a 2-standard deviation move in jet fuel, it makes no sense to have a Sell rating on Alaska, which, also
happens to be one of the best run airlines. Alaska has done a superb job in defending its Seattle hub and we believe
that it will continue to be an industry leader in returning capital to shareholders.
Key risk factor
A key risk for the industry is fuel price volatility; every $1/bbl move in jet fuel prices impacts industry pretax profits by
$400 million. Oversupply is another major risk factor.

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  Hexcel Corporation                                                                      Buy
                                                                                          Reuters: HXL.N   Exchange: NYS   Ticker: HXL

Investor Day Wrap-up; '14/'15 as expected but cash upside through '19

Price (USD)                           40.38   Impressive facility shows off the fruits of HXL's labor
Price Target                          48.00   Management swung open the gates at their Salt Lake City composite facility in an
52-week range                46.40 - 36.92    effort to bring investors into the fold on how the investments the company has been
Market cap (USD)                    3,989.5   making in capex are coming along. The tour was impressive in both what has been
Shares outstanding (m)                 98.8   done and what the company still plans to accomplish (company will double both its
Volume (12 Jan 2015)                113,993   fiber and prepreg capacity by 2020). The company's operating leverage target was
S&P 500 INDEX                    2,028.26     also nicely raised from 23% to 25% over the next 5 years, which helps the company
Free float (%)                         100
                                              drive a mid-teens EPS CAGR on organic growth and cash generation without making
                                              a dent on the balance sheet. Maintain Buy given upside to PT.
FYE 12/31          2013A    2014E    2015E
1Q EPS               0.43   0.50A        –    2014/2015 in-line, consensus a bit high
2Q EPS              0.48    0.55A         –   Following today’s plant tour, HXL gave investors a quick preview of Q4 and ‘14
3Q EPS              0.48    0.57A         –   results and initial ‘15 guidance. 2014 results were in line with our thinking on sales
4Q EPS              0.46     0.54         –   of $1.855B and EPS of $2.16. The 2015 guidance was also in line with our estimates;
FY EPS (USD))       1.84     2.16      2.36   however, as we had previewed, a bit shy of the Street. 2015 sales of $1.9-$2.0B and
P/E (x)             18.9     18.7      17.1   EPS of $2.26-$2.38 compared to consensus of $2B and EPS of $2.42. Importantly,
                                              the company initiated its first dividend in 12 years as they will pay 10c a quarter
                                              (~1% yield). More importantly, we believe investors should be focused on the
                                              accelerating growth through ‘17 (a scarcity in industrials) and the company’s
                                              confidence in medium term free cash generation ($1B ’15-’19).
                                              5 year plan update provides runway to mid-teen EPS growth through 2020
                                              The company maintained a previously issued 2017 sales target of $2.5B and initiated
                                              new targets for 2020. Revenue for 2020 is targeted at $3B (8% CAGR from 2015)
                                              with Aero delivering 8-12% CAGR, Space & Defense MSD, and Industrial also up 8-
                                              12%. EPS is targeted at $4.50, a solid14% CAGR from 2015 guidance.
                                              Valuation and Risks
                                              We reiterate our Buy on HXL and our price target of $48, which reflects 18X our
                                              2016 EPS and is in-line with the company’s trading average. Risks to the downside
                                              include production rate reductions, new product development challenges, weaker
                                              than expected cash flow and faster-than-expected declines in the military portfolio.

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Equity rating key                                           Equity rating dispersion and banking relationships
Buy: Based on a current 12- month view of total                 600
share-holder return (TSR = percentage change in                         51 %
                                                                500                          47 %
share price from current price to projected target price
                                                                400
plus pro-jected dividend yield ) , we recommend that
                                                                             54 %
investors buy the stock.                                        300
                                                                                                 39 %
Sell: Based on a current 12-month view of total share-          200
holder return, we recommend that investors sell the             100                                             2 % 24 %
stock                                                             0
Hold: We take a neutral view on the stock 12-months                       Buy                 Hold                 Sell
out and, based on this time horizon, do not
recommend either a Buy or Sell.
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